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EXHIBIT A

EXHIBIT A
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SMACKDOWN
HERE COMES THE. PAIN
ULTIMATE WARRIOR CAW

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1.)skin2, skin color:3, CCX: -91,Y: -10),S(X: 9)

2.)Face>25,Model> 14, Figure(X: 0, Y: 0),Shape (X: 33, Y: 0), Age:
26)<==for skin texture

Head(X: 0, Y: -12)

Eyebrow(X: 14,Y: 14)

Eyes(X: 5, Y: -100),(X: -1 , Y: -19)

Nose(X: -3,¥: 74),(X: -24,¥ -25)

Cheeks(X: -30)

Mouth(X: 7,Y: -18 ),CX: -16)

Jaw(X: 8,Y: 35),CK: 47)

3.)Byes: 1, CCX: 9,Y: -10),S@&: -2)

4.Jeyebrows :114, CCX: -89,Y: 0), SCX: 0)

5,)Lips: 38, CCX: -98, Y: -16), S(X:0)

6.)Hair : 35, or 40, CCX: -86,Y: 9),S(x: 0),SCK: 96)
7.)Underwear> 15,1>1,C(X: 12, Y: 0),S@& -100)

8.) Shoes>1>11>1>C(X: 80,Y: -5),S(X: -97),L(X: -75)

9.) Wristbands>1>16,C(X: -50,Y:9),S(X: 24)LC: 84)

10.)Headpaint: 30>C(X: 94, Y: 23),S(X: 56)

11.)Headpaint: 20>C(X: 100, Y: 9),S(X:0),TCX:100)
12.)Design>Simple>Face>25>second biggest size, rotate 2*,C(x: -69, Y:67),5(X:0),T(X:
50) place in middle of face so that half of it sticks outover eyebrows and half of it below
eyes refer to this helplink:

13.)Headpaint: 1>C(-82, Y: 28),S(X: 59), TCX: 100)
14.)Design>Simple>Face>156>second smallest size>C(X: 77, Y:9),SCX:0)for placement
refer to the pic

15.)Design>Letters>Face>Alphabet>1/16> "Y">biggest size~C(X: -
77,Y :16),S(X:9)place on nose see pic
16.)Pants>53>120>1>C(X: 34,¥:27),S&: -94)

Use two of the following pattern on each leg and make them wrap allthe way around the

leg place them to access parts of pants on upper legs
17.), 18.)19.),20.)Design>Simple>:153>rotate 1*>biggest size>C(x:-89, Y:46), S(X: -44)

*Use 4 in total and two of the following pattern on ‘both armsto make the arm bands
nearer shoulder blade high as possible on both arms,as seen in the pics one is green
colored and the other is pink, purple

21,), 22.),23.),24.)Design>Simple> 145, rotate 1*, biggest size, C(X:~54,Y: 71), S(X:0)
for green C(X: 85, Y: 60),, SCX:0) for bright pink/purplered one in the pics

*Use 4 in total and two of the following pattern on both legsmake them wrap around the

legs to help make kneepads;for placement on legsee original pics these are going to form
the kneepads

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25.),26.),27.),28.)Design>Flag>25> CCX: -5,Y: -8), SX: -68)
29.)Design>W WE>Left leg>3> smallest size, rotate 2*, C(x: 79, Y:23),S(X:0)place in

middle of the self made kneepad above

30.)Design>Tatoo>Right leg> 36>rotate 2*, smallest size>C(x: -54,¥:20), SCX: 0)place

in middle of the self made kneepad

*Using three of the following pattern and placing them in a diagonallike this / with a little
bit of space between on front of tights as seenin the main pics
31.) ,32.),33.)Design>Body>Tatoo>36-rotate 3 * smallest size>C(-65,Y:6)

34.)Design>Simple>Back>25, rotate 2* second smallest size C(X: 83, ¥:51),S(X:0)

place on back of tights in the middle

35.)Design>Simple> 139>second smallest size>C(-74,Y:16),S(X:0) placeon top of
previous piece and move it down a little so it looks like thispattern has purple-ish red

outline at the top of it a
Form>Figures
Body Morphing Xi: 11,Y: -41)

Form>Figures

Head(X: -16,Y: 6),(Y: 8)
Neck(X: 62, Y: 66), (Y: -92)
Chest (X: 76, Y: -9),(Y: -24)
Shoulder(X: -63,Y: 19),CY: -20)
Abdomen(X: 27,Y: 0),(¥: 35)
Arms(X: 61,Y: 32),(Y: -38)
Forearms(X: 0,Y: 24)
Hands(X: 32,Y: 28),(Y: -54)
Waist(X: 0,Y: -3)

Thigh(X: 12,Y: 2)

Legs(X: 51,Y: 27),(¥: -53)
Feet(X: -25,Y: -7),(¥: -43)

Height 6'3"

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EXHIBIT B

EXHIBIT B

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SMACKDOWN
HERE COMES THE PAIN
ULTIMATE WARRIOR CAW #2

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1.)skin2, skin color:3, CCX: -91,Y: -10),S@& 9)

2.)Face>25,Model> 14, Figure(X: 0, Y: 0),Shape (X: 33, Y: 0), Age(X:
26)<==for skin texture

Head(X: 0, Y: -12)

Eyebrow(X: 14,Y: 14)

Eyes(X: 5,Y: -100),(&: -1, Y: -19)

Nose(X: -3, Y: 74),(X: -24,Y -25)

Cheeks(X: -30) ,

Mouth(X: 7,Y: -18 ),(X: -16)

Jaw(X: 8,Y: 35),C&: 47)

3.)Eyes: 1, CCX: 9,¥: -10),SCK: -2)

4.Jeyebrows :114, CCK: -89,Y: 0), SCX: 0)

5.)Lips: 38, CCX: -98, Y: -16), S@&:0)

6.)Hair : 35, or 40, CCX: -86,Y: 9),S(x: 0),SCX: 96)
7.)Underwear: 15>31>1>C(X: -85, Y: 23), S(%: 75)

8.) Shoes>1>1>1>C(K: -47,Y: -50),S(X: 2), L(&: -75)
9.) Wristbands>1>58,C(X: -69, Y:20),S(X: 26)L(X: 78)
10.)Headpaint: 30>C(X: -90,Y: 63),S(%: 71)
11.)Headpaint: 1>C(X: -65, Y: 50),S(X:69),T(X:100)

12.)Design>Face>Letters>Aplhabet 1/16>"I">biggest size>C(X: -79, Y: 100),SCK: 0)
place on bose between the space between the eyes making half ofthe I stick out above
eyebrow area and below

13.)Headpaint: 38>C(x: -90,Y: 20), SCX: 2)

14.)Design>Face>Letters>Aplhabet 1/16>"V">biggest size>C(x: -97, Y:42), SCX: 34)
place immediately below left eye (your left) but move tothe left; towards the left sideburn
but make the V on the orange paint

15.)Design>Face>Letters>Aplhabet 1/16>"V">biggest size>C(x: -97, ¥:42), S(X: 34)
place immediately below right eye (your left) but move tothe right; towrads the right
sideburn but make the V on the orange paint

16.)Pants>53>221>1>C(X: -86,¥:9),S(% 61)

Use two of the following pattern on each leg and make them skin coloredand wrap all the
way around the leg place them to cover up access partsof pants on upper legs
17.), 18.)19.),20.)Design>Simple>:153>rotate 1*>biggest size>S(x:-89, Y:46), SCX: -44)

*Use 4 in total and two of the following pattern on both armsto make the arm bands
nearer shoulder blade high as possible on both arms,as seen in the pics one is green
colored and the other is pink, purple

21.), 22.)23.),24.)Design>Simple> 145, rotate 1*, biggest size, C(K:-67,Y: 87), S(X:0)
for yellow C(X: 88,Y: 74)), SCX:0) for pink/red

use the two flags below on both legs and them wrap around the legs tohelp make
kneepads;making sure flag 20's + sign is quite visible in frontview ie centered middle in

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front of kneepads

25.),26.)27.),28.)Design>Flag>20> second biggest size>C(X: -85,Y: 4),S(CX: 64)
Design>Flag>18>second biggest size> C(X: -91,y: 9),SCX: 8) thisflag helps to wrap the
flags all the way the leg

29.)Design>Simple>Left leg>25> rotate 2*>smallest size, CCX: 91,Y: 53),SCX: 0) place
on the newly formed kneepads on the front-on top of the +symbol this is for the warrior
logo on kneepads .
30.)Design>Simple>Left leg>25> rotate 2*>smallest size, CCX: 91,Y:53), SCX: 0) place
on the newly formed kneepads on the front on top ofthe + symbol this is for the warrior
logo on kneepads

*Using 2 of the following pattern and placing one near crotchand the other on left hip on

underwear / tights as seen in the main pics
31.) ,32.)Design>Simple>Body>25>rotate 2* smallest size> C(X: 86, Y:28),SCX:0)

33.)Design>Simple>Back: 139> biggest size> C(X: -89, Y: 36), Y(X: 39)place on butt
cheeks

34.)Design>Simple>Back: 25>rotate 2* second smallest size, C(X: -49, Y:89),S(X: 0)
place on central on back of tights but place towards the bottom
35.)Design>Picture>Back>90>smallest size>C(x: 96, Y: 4),S(X: 39) placeon yellow
warrior logo om back almost as high as possible on warrior symbolbut just right of center
of it as seen in the pics

Form>Figures
Body Morphing (X: 11,¥: -41)

Form>Figures

Head(X: -16,Y: 6),(Y: 8)
Neck(X: 62, Y: 66), (Y: -92)
Chest (X: 76, Y: -9),(Y: -24)
Shoulder(X: -63,Y: 19),(Y: -20)
Abdomen(X: 27,Y: 0),(¥: 35)
Azxms(X: 61,Y: 32),(Y: -38)
Forearms(X: 0,Y: 24)
Hands(X: 32,Y: 28),(Y: -54)
Waist(X: 0,Y: -3)

Thigh(X: 12,Y: 2)

Legs(X: 51,Y: 27),(Y: -53)
Feet(X: -25,Y: -7),(¥: -43)

Height 6'3"

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EXHIBIT C

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SMACKDOWN vs RAW
Ultimate Warrior Created Moveset

BASES

Ring In Move: Matt Hardy

Ring Out Move: Roll Down

Taunt: Taunt Powerful 01; Taunt Powerful 04; Taunt Muscular 04;

Muscle Appealing
Fighting Style: Wrestling 01
Walking Style: Normal
Running Style: Normal
. Entrance: Moves: Original 16; Music: Original 20

READY MOVES
Attack: Clothesline 02; Toe Kick 01; Double Axe Handle 01; Slap 02; Back Chop 03;
Muscular Punches

Grapple:

- Submission: Bearhug 03; Headlock 01; Headlock 02; Wrist & Arm Wrench

- Signature: Facecrusher 03; Scoop Slam 02; Falling Powerslam, Suplex 03

- Power: Backbreaker 09; Powerful Knee Strike 02; Body Press Slam; Batista Lifting &

Toss

- Quick: Small Package 01; Power Up 02; Jawbreaker 01; Club To Neck

- Grapple Attack: Grapple Elbow Strike 01; Grapple Elbow Strike 01; Grapple Elbow
. Strike 03

Back Attack: Atomic Drop; Backbreaker 06; Elbow To Back Of Head 02; Backslide Pin
02

-- Super Atomic Drop; Back Supiex 02; Forearm Smash; School Boy Pin 02

Edge of Cell: Downward Thrust x4

GROUND

Attack: Angry Stomp; Elbow Drop 02; Elbow Drop 09

Grapple: Sleeper Hold 09; Fury Punch 09; Reverse Chin Lock 02 || Toss 02; Kick To
Leg; Leg Lock 10

TURNBUCKLE

Attack: Running Shoulder Attack 01; Turnbuckle Clothesline; Knee Attack 01

Grapple: Mudhole Stomping 01; Superplex 01; 10 Punch || Mudhole Stomping 02

Back Attack: Turnbuckle Smash; Turnbuckle Smash; 10 Turnbuckle Smash; Turnbuckle
Smash

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ROPE OPPONENT

Rope Down: Big Boot 04

Rebound Attack: Shoulder Block 02; Double Axe Handle 04; Vaulting Body Press 02
Jump Down Over: Dive Through Ropes

Stand: Shoulder Block 03; Double Axe Handle 03
Down: Diving Elbow Drop; The Money Shot Pin; The Money Shot Pin

RUNNING

Attack: Running Shoulder Attack 02; Clothesline 19
Grapple: Neckbreaker Drop; Reverse Mat Slam

Back Attack: School Boy Pin 02; Mat Slam 02

Squatting Attack: Elbow Drop 10; Double Axe Handle 04
Counter: Powerslam 01; Back Body Drop 02; Flapjack 03

DOUBLE TEAM
Stand: Double Flapjack; Double Suplex; Double Punches 02; Double Clothesline; Double

Beat Head
Turnbuckle: Kick To Gut; Double Stomping; Hip Toss; Body Splash & Whip

SPECIAL
Finisher: Ultimate Bomber Pin; Ultimate Slam & Splash
Favorites: Scoop Slam 02; Clothesline 19; Back Body Drop 02

Weapon Finisher: DDT 29; Guillotine 03
Combination Moves: Benoit Punches; Back Chop 01; Double Axe Handle 01

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EXHIBIT D

EXHIBIT D

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SMACKDOWN vs RAW
ULTIMATE WARRIOR CAW 1

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1.)Body Skin 2/4
Skin Color: C(-90,24),S (15)

2.)Face Skin: 13/13

3,)Eyes: 1/12,C (X: -96,Y: -14),S (X: 0)
4.)Eyebrows: 18/154 ,C(X: -88,Y: 9),S (X: 0)
5.)Lips: 56/65,C(X: -96,Y: 10),S(X: 0)

6.)Teeth 1/3

7.)Hair: 64/88,C(X: -82,Y: 31),S(X: 0), LTCX:72)
or Hair 65/88,C(X: -86, Y: 0),S(X: 0),L(X: 72)

8.)Body hair 1/12

_ 9,junderwear 38/41,5/19,C(X: 15,Y: -8),S(X: 23)

**Face morphing

Head(X: 17,Y: -61),(X: 0)

Eyebrows (X: 0,Y: 0),CY: 30)
Eyes(X: 11, Y: -41),@X: -80,Y: -100)
Nose(X: 25, Y: 0),CX: 0,Y: 18)
Cheek(X: -100,, Y: 100),CX: -9,Y: -94)
Mouth(X: -73,Y: 54),( X: 0 ,¥: 32)
Jaw(X: 9, Y: -15),(X: -13,¥: 25)

_ Ear(X: 51,Y: 0),(X: 0,¥: 0)

Age(X: -28)

Full body scaling

Head(x: -41,Y: 0),(Y: -44)
Neck(X: 0,Y: 0),(¥: 0)
Chest(X: 67,Y: 14),(Y: 49)
Shoulder(X: -14,Y: -57)
Abdomen(X: 37,Y: 0),(Y: 0)
Axms(X: 22,Y: 23),(Y: -34)
Hands(X: -33;Y: -70)
Waist(X: 46,Y: 0)

Legs(X: 5,Y: 0),(X: 18,Y: -53)
Feet(X: 62,Y: 0),(Y: -1)

Height 6'3”

Body toning X: -60

Use the help pic links above for the following:

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ATTIRE :1,WM12 attire v/s HHH ( with jacket, blueish tights)

10.)Socks: 1/41,2/22,C(X: 23,Y: 47),S(X: 66),T(X: 100),L@: -88)

11.)Wristbands: 37/41, 1/20,C(X: -88,Y: 31),S(X: 75), TCX: 100), LX: 67)

12.)Dress up> Head> Paint: 30/152, CX: 9,Y: 34),S(X: 63), TCX: 100)

13.)Dress up> Head> Paint: 37/152, CCX: 19,Y: 9),SCX: 0), TCX: 100)

14.)Dress up> Head> Paint: 114/152,C(X:-83,Y: 72), SCX: 0),TCK: 100)

15.)Dress up> Feet>Shoes: 1/41,1/45,CCX: 95, Y: 24),S(X: 100),L(X: -100)

16.)Pants: 38/41,13/19,C(X: 84, Y: 18),S(X: -1),Pants(X: 27)

17.)Dress up >Right leg> Design, Flag 20/30,second smallest vertical size, biggest
horizontal size, place in kneepads position in front view near the top of the pants/
socks, C(X: 13, Y: 5),SCX: 93),TCX: 100) oO

18.)Dress up >Right leg> Design, Flag 30/30,second smallest vertical size, biggest
horizontal size, place at back of leg in kneepads position but place it so that it

nearly joins up at both ends of previous flag. It is not meant to connect all the

way round, it looks in game remember he normally had tassels coming from kneepads
anyways, C(X: -84,Y: 100),SCK: 66), TCX: 100)

19,)Arm paint: 83/149,C(X: -79,Y: 100),SCX: 14),T(X: 100)

20.)Dress up >Left leg> Design, Flag 20/30,second smallest vertical size, biggest
horizontal size, place in kneepads position in front view near the top of the pants/
socks, C(X: 13, Y: 5),SC&: 93),TCK: 100)

21.)Dress up >Left leg> Design, Flag 30/30,second smallest vertical size, biggest
horizontal size, place at back of leg in kneepads position but place it so that it

nearly joins up at both ends of previous flag. It is not meant to connect all the

way round, it looks in game remember he normally had tassels coming from kneepads
anyways, C(X: -84,Y: 100),SCX: 66),TCX: 100)

22.)Dress up> Left leg> Design. picture 70/100, second smallest horizontal

scaling, place in middle of now created kneepad in front view, CCX: ~92,Y: 51),SC:
7), TCX: 100)

23.)Dress up> Right leg> Design. picture 70/100, second smallest horizontal

scaling, place in middle of now created kneepad in front view, CCX: -92,Y: 51),S(%:
7), TCX: 100)

24.)Dress up>Head>Simple, 137,162,second smallest horizontal size, smallest vertical
size, placement see help pic, C(X: -82,Y: 75),5(X: 0), TCX: 100)

25.)Dress up>Head> Simple 147,162,biggest horizontal scaling, second smallest

size, placement see help pic, C(X: 17,Y: -40),SCX: 0), TC: 100)

26.)Dress up, Head> Simple: 101/162,biggest horizontal and vertical scaling, placement
see help pic, C(X: 21, Y: 9), SCX: -89), TCX: 100) -

27.)Dress up>Upperbody>Back> Picture 70/100,biggest horizontal scaling, second
smallest vertical scaling, place on back of tights in the middle, CCX: -91,Y: 22),S(CX%:
3), TCX: 100)

**The following are only entrance / cutscene attire only
28.)Coat: 41/41, 9/16,C(X: 16,Y: -18),SCX: 0)
29.)Dress up>Upperbody> paint> 48/58, C(X: -100,Y: 58),S(CX: 0), TCX: 100)

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30.)Dress up, Upperbody>Back>Design WWE :35/60, biggest horizontal and vertical
scaling, rotate 2*,placement see help pic, C(X: -92,Y: 14),S(K: 0), TCX: 100)
31.)Dress up, upperbody>paint: 56/58,C(X: -100,¥: 30),SCX: 47), TCX: 100)
32.)Dress up, upperbody, frorit, design picture 70/100,smallest horizontal and
vertical scaling, placement see help pic, CCX: -90,Y: 34),S(X: 0),TX: 100)

ATTIRE 2: Green tights warrior

Change underwear to underwear 1/41,5/19,C(X: -34,Y: 9),S(X: 37)
than same than

10.)Socks: 1/41,2/22,C(X: -26,Y: 48),SCX: 66), TCX: 100), LC: -88)

11.) Wristbands, 12/41,1/20,C(X: -71,¥: 39),S(X: 79), TX: 100),LCX: 72)

12.)Dress up>Head>Paint: 30/152, CCX: -87,Y: 75),S(X: 100),TC&: 100)
13.)Dress up>Head>Paint: 114/152,C(X: -100,Y: 100),S(X: 6), TCX: 100)
14.)Dress up>Head>Paint: 38/152, CK: -53,¥: 71 ),SCX: 26), T(X: 100)

15.)Dress up>Head>Design>Simple: 139/162,rotate 2*,second smallest horizontal and
vertical scaling, placement see help pic, C(X: 100,Y: 50),SCX: 0), TCX: 100)
16.)Dress up>Head>Paint: 50/152,C(X: -66,Y: 98),SCX: 26), TCX: 100)

17.)Dress up>Head>Paint: 37/152,CC&: -59,Y: 28),S(X: 0), TCX: 100)

18.)Dress up>Head>Paint: 19/152,CCX: 89, Y: -100),S(%: 0),TCK: 100)

19,)Dress up>Head>Paint: 49/152,C(X: -55,Y: 39),SCX: 22), TCX: 100)

20.) Wristbands: 1/41,1/20,C(X: 93, ¥: 40),SC& 0),TH: 100), LCX: 93)

21.)Shoes: 1/41,1/45,C(X: -26,Y: 9),S(X: -100),L(X: -100)

22.)Pants: 38/41,13/19,CCX: -96,Y: 9),S(X: -96),Pants(X: 31)

23.)Dress up >Right leg> Design, Flag 20/30,second smallest vertical size, biggest
horizontal size, place in kneepads position in front view near the top of the pants/
socks, C(X: -43, Y: 77),SCX: 93),TCX: 100)

24.)Dress up >Right leg> Design, Flag 30/30,second smallest vertical size, biggest
horizontal size, place at back of leg in kneepads position but place it so that it
nearly joins up at both ends of previous flag. It is not meant to connect all the

way round, it looks in game remember he normally had tassels coming from kneepads
anyways,

CCX: -28,Y: 100),SCX: 100), TCX: 100)

25.)Dress up >Left leg> Design, Flag 20/3 0,second smallest vertical size, biggest
horizontal size, place in kneepads position in front view near the top of the pants/
socks, C(X: -47,Y: 9),SCX: 74), TCX: 100)

26.)Dress up >Left leg> Design, Flag 30/3 0,second smallest vertical size, biggest
horizontal size, place at back of leg in kneepads position but place it so that it
nearly joins up at both ends of previous flag. It is not meant to connect all the
way round, it looks in game remember he normally had tassels coming from kneepads
anyways,

CCX: -46,Y: 33),SCX: 82), TC: 100)

27.)Arm paint: 83/149,C(X: 83,Y: 100),S(X: 25), T(X: 100)

28.)Dress up> Left leg> Design>picture 70/100, second smallest horizontal
scaling, place in middle of now created kneepad in front veiw, C(X: 90, ¥: 9),S(CX:

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12),T(X: 100)

29.)Dress up> Right leg> Design>picture 70/100, second smallest horizontal
scaling, place in middle of now created kneepad in front veiw,C(X:90,Y: 9),S(X:
12), TCX: 100)

30.)Dress up>Head>Simple :140/162,rotate 2*, smallest vertical and horizontal
_scaling, see help pic, CCX: 98, Y: -100),S(X: 0), TCX: 100)

Attire 3: Warrior WM6 orange attire v/s hulk Hogan

change underwear to 1/41, 5/19,C(X: -88,Y: 58),S(X: 28)
then same than

10.)Socks: 1/41,2/22,C(K: -92,Y: 27),S(X; 47),TCX: 100),LO&: -88)
11.)Writsbands: 12/41, 1/20,C(X: -81,Y: 50),SCX: 80),TCX: 100),LCK: 72)
12.)Dress up>Head>Paint: 30/152,CCX: -88,Y: 65),S(X: 90), TCX: 100)

13.)Dress up>Head>Paint: 37/152,C(CX: -67,Y: 44), SCX: 0), TCX: 100)

14.)Dress up>Head>Paint; 114/152,CCK: -89, Y: 66),S(X: 1 1),TCK: 100)

15.)Dress up>Head>Paint: 38/152,CC%: -45, YL 100),SCX: 56), TCX: 100)
16.)Shoes: 1/41,1/45,C(K: -26,Y: 9),SCX: 37),L(X: -100)

17.)Pants: 38/41,13/19,C(K: -96,Y: 38),SCX: 68),Pants(X: 32)

18.)Dress up >Right leg> Design, Flag 20/3 0,second smallest vertical size, biggest
horizontal size, place in kneepads position in front view near the top of the pants/
socks, CCX: -88,Y: 9),SCX: 74), TX: 100)

19.)Dress up >Right leg> Design, Flag 30/3 0,second smallest vertical size, biggest
horizontal size,place at back of leg in kneepads position but place it so that it
nearly joins up at both ends of previous flag. It is not meant to connect all the

way round, it looks in game remember he normally had tassels coming from kneepads
anyways,

CX: -90,Y: 69),SCX: 100), TCX: 100)

20.)Dress up >Left leg> Design, Flag 20/3 0,second smallest vertical size, biggest
horizontal size, place in kneepads position in front view near the top of the pants/
socks, C(X: -88,Y: 9),SCX: 74),TC&: 100)

21.)Dress up >Left leg> Design, Flag 30/30,second smallest vertical size, biggest
horizontal size, place at back of leg in kneepads position but place it so that it
nearly joins up at both ends of previous flag. It is not meant to connect all the

way round, it looks in game remember he normally had tassels coming from kneepads
anyways, :

CCX: -90,Y: 33),SCX: 82), TCX: 100)

22.)Dress up> Left leg> Design>picture 70/100, second smallest horizontal
scaling, place in middle of now created kneepad in front view, CCX: 92,Y: 12),SC%:
25),TCX: 100)

23.)Dress up> Right leg> Design>picture 70/100, second smallest horizontal
scaling, place in middle of now created kneepad in front veiw,C(K:92, Y: 12),S(X:
25), TCX: 100)

24,)\Arm paint: 83/149,C(X: -61,Y: 100),SCX: 100), TCX: 100)

25.)Dress up>Upperbody>Design: Simple: 25/162,rotate 2* biggest horizontal scaling

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and second smallest vertical scaling, place on chest see pics, C(X: -100,Y: 30),S&:

0), TCX: 100)

26.)Dress up>Upperbody>Back> Design: Simple 25/162,rotate 2* biggest horizontal
scaling and second smallest vertical scaling, place on back of tights, see pics, CCX:
-78,Y: 100),SCK: 0), TCX: 100)

27.)Dress up>Upperbody>Design: Simple: 136/162,rotate 2*,second biggest horizontal
scaling ,second smallest vertical scaling, placement see help pics, C(X: -100,Y:

1),SC@%: 27), TC: 100)

28.)Dress up>Upperbody>Design: Simple: 94/162,biggest horizontal scaling, second
smallest vertical scaling, placement see help pics,C(X: -70,Y: 67),SCX: 0), TC: -61)
29.)Dress up>Upperbody>back>Design> Picture: 70/100,second biggest horizontal
scaling, smallest vertical scaling, place in middle of yellow pattern on back of
tights,C(X: 96, ¥: 18),SCX: 12), TCX: 100)

30.)Dress up>Head>Design> Simple: 137/1 62,biggest horizontal scaling, second biggest
vertical scaling, placement see help pic, C(X: -90,Y: 22),SCX: 9), TCX: 100)

31.)Dress up>Head>Make up: 7/60,C(X: 28, Y: -48),SCX: -100), TCX: 61)

32.)Dress up>Upperbody>Design>Picture: 70/1 00,second smallest horizontal

scaling, smallest vertical scaling, Design>Picture 70/100, place in front of tights as
seen in pics, C(X: 100,Y: 9),S(X: 93), TX: 100)

Profile: Ultimate Warrior
Call name: Warrior

**Bases; Entrance
Movie: Logo
Moves: Original 16
Music: Original 1

Fighting chance: Wrestling 1

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SMACKDOWN vs RAW 2006

Preset Movesets & Entrances

Info credit: Various Sources
To unlock the preset movesets, win 10 matches in exhibition with a CAW.

Preset Entrances:

Edit 01 - Matt Hardy V1

Edit 02 - Dvon Dudley & Bubba Ray Dudley
Edit 03 - Maven

Edit 04 - Miss Jackie

‘Edit 05 - Brock Lesnar

Tag 01 - Eugene & William Regal

Tag 02 - Bashams

Tag 03 - La Resistance

Tag 04 - William Regal & Tajiri

Tag 05 - Muhammad Hassan & Diaria lol
Tag 06 - Bushwhackers

Tag 07 - Charlie Haas & Miss Jackie
Tag 08 - LOD (?)

Trio 01 - DX with Torri (Road Dogg & Xpac)
Trio 02 - nWo (Nash & Hogan & Hall)
Trio 03 - Generic or Team Angle (Kurt Angle, Charlie Haas, and Shelton Benjamin)

Preset Movesets:

Moveset 1: Hardcore Holly
Moveset 2: Val Venis
Moveset 3: Funaki

Moveset 4: Maven

Moveset 5: Rhyno

Moveset 6: Bubba ray dudley
Moveset 7: D-von Dudley
Moveset 8; Luther Reigns (or Test?)
Moveset 9: Lance storm
Moveset 10: Rikishi
Moveset 11: Ultimo dragon
Moveset 12: Billy Gunn
Moveset 13: Chuck Palumbo
Moveset 14: Matt Hardy
Moveset 15: Jeff Hardy
Moveset 16: Al Snow

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Moveset 17: Goldberg
Moveset 18: Scott Steiner
Moveset 19: Sting

Moveset 20: X-pac

Moveset 21: Kevin Nash
Moveset 22: Razor Ramon
Moveset 23: Animal

Moveset 24: Hawk

Moveset 25: Ultimate Warrior

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SMACKDOWN VS RAW 2006
ULTIMATE WARRIOR CAW 1

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Case 2:05-cv-01134-SMM Document 93-2 Filed 04/25/08

Name ? Ultimate Warrior

HUD Name ? Warrior

Nick Name - Warrior

Nick Name Placement - None
Anouncer Introduction ? The Legend

Hometown - Parts Unknown
Weight class - 254

Match Tactic - Fight Clean
Show - Smackdown!

Voice - 5

---Head----

Morphing

Head /0/0/-33/-23/

Eyebrows /0/0/0/0/

Eyes /-29/-18/0/0/0/-23/10/
Nose /-19 /61/-8/-8/-33/-8/20/14/
Cheek / -30/ -23 /-29/0/

Mouth / 20 / -22/0/-7/-10/-4/-8/
Jaw / 100/-29/10/-29/-48/-8/

Ear /0/0/0/0/

Age/25/

Morphing Continued

Hair (46/91) / 96 /49/30/64/
Eyes (1/26) /92/50/35/
Eyebrows (1/48) /97/50/50/100/
Facial Hair None

Lips (1/35) /98/50/50/100/

_ Face Skin (8/8)

Eye Lids Default
Teeth Default

---Body---

Body Type

Ripped <-> Thick -59
(advanced Options)
Head/0/0/0/
Neck /0/0/0/

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Chest /-8/14/0/
Shoulder /0/-8/0/
Abdomen /-3/5/0/
Waist/0/0/
Arms / 10/29/35 /
Hands /20/5/5/
Legs /20/0/0/
Feet /8/0/0/

Body Skin

(8/9) / 96/54/50 /

Body Hair

(1/32) Default .

Body Height

Height 6'2"

---Outfit---
Head

** MUST BE IN ORDER **

Head Paint (20/159) / 96 /91/87/100/
Pattern Simple (138/162) / 96/78 / 87 / 100
Head Paint (7/159) / 75 / 50/27 / 100
Head Paint (37/159) / 70 / 78 / 73 / 100
Head Paint (24/159) /2/50/0/100

Arms

Wrist Bands (19/20) / 96 / 78/87 / 100/95 /
Wrist Bands (1/20) / 70 / 79 / 74 / 100 /100/
Elbow Pads (13/16) / 96 / 79 / 88 / 100 /

Legs

Underwear (4/25) / 43 /0/54/
See Pics For Placement...

Pattern Simple (25/162) Rotate 2xs / 70/50 /50/ 100
Pattern Simple (25/162) Rotate 2xs / 70 /50/50/ 100
Pattern Simple (25/162) Rotate 2xs / 70/50 /50/ 100

Knee Pads -> Both Feet (14/15) /0/0/100/100/

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See Pics For Placement...
Pattern Simple (25/162) Rotate 2xs / 70/50/50 /100
Pattern Simple (25/162) Rotate 2xs / 70/50 /50/ 100

Feet

Shoes (14/48) /43 /0/69/
Accessories (1/18) /100/0/40/100/

Other

Al. Fighting Style Batista

Advanced

Move ---- Agressive
Irish Whip ---- Often
Diving Moves ---- Less
Taunt ----- Often

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SMACKDOWN VS RAW 2006
ULTIMATE WARRIOR CAW 3

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{Note: Some tvs are different then others. Please adjust your tv so the colors are right. I
have double checked all my formulas and have made sure no mistakes happen. But in
rare cases some do happen. If so please contact me. Enjoy!!!}

**Profile**

Name: Ultimate Warrior

HUD Name: Warrior

Announcer Introduction: The Hero
Hometown: Parts Unknown
Gender: Male

Weight Class: 275 Ibs./Heavyweight
Match Tactic: Fight Clean

Show: Raw

Voice: Dunno...It\'s up to you...

** Lead **

{Morphing}

Head (0,35,7,0)

Eyebrows (100,0,40,5)
Eyes (13,43,0,-48,0,-3,-51)
Nose (2,0,0,0,33,14,1,6)
Cheek (0,0,50,0)

Mouth (-22,0,0,34,0,70,36)
Jaw (20,0,25,0,0,35)

Ear (0,0,0,0)

Age (10)

{Morphing-Continued}
Hair: 45 (91,48,60,50)

Eyes: 1 (92,56,45)
Eyebrows: 18 (95,59,37,61)
Lips: 34 (99,50,42,39)

Face Skin: 8
Eyelashes(lids): 1 (93,50,50)
Teeth: 1 (98,50,50)

* *Body* *

{Body Type}

Ripped <-> Thick: -36
--->ADVANCE OPTIONS<---
Head: (3,0,14)

Neck: (-19,33,32)

Chest: (0,0,0)

Shoulder: (0,37,0)

Abdomen: (-18,14,12)

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Waist: (0,14)
Arms: (0,0,-33)
Hands: (0,0,0)
Legs: (10,3,0)
Feet: (0,0,0)

{Body Skin}: 4 (96,53,41)
{Body Hair}: 1 (100,50,50,100)
{Body Height}: 6\'2\"

{Note: J am putting all layers as I have them in the layers section....[f something doesn\'t
look to be in the right place move that layer to make it the right place.... Missing numbers
are either facial hair or Green colored Unmove-able layers, And missing HIGH numbers
means I didn\'t use those layers!! I}

10. Legs/Underwear: 1-44 (31,81,50)
11. Head/FacePaint:.30 (40,100,61,100)

~FacePaint CoverUps~

12. Face/Tattoos&Logos/Design: 153 {Hit Vertical Scaling Down 1 time and Horizontal
Scaling Down 1 time} [[Move: See Help Pix] (95,22,65,100)

13. Face/Tattoos&Logos/Design: 153 {Hit Vertical Scaling Down | time and Horizontal
Scaling Down 1 time} [[Move: See Help Pix]] (95,22,65,100)

14. Head/FacePaint: 9 (40,100,61,100)
15. Head/FacePaint: 10 (40,100,61,100)
16. Head/FacePaint: 19 (4,0,0,100)

17. Head/FacePaint: 33 (85,96,66,100)

~Upper Lip Detail and FacePaint Add-Ons~

18. Face/Tattoos&Logos/Letters/Sign: Page 2/Row 1/Box 1 {Hit Rotate 2 times} [[Move:
See Help Pix]] (38,0,23,9)

19. Face/Tattoos&Logos/Design: 150 {Hit Rotate 1 time, Horizontal Scaling Down 1
time, and Vertical Scaling Up 1 time} [[Move: See Help Pix] (40,100,69,100)

20. Face/Tattoos&Logos/Design: 150 {Hit Horizontal Scaling Down 1 time and Vertical
Scaling Up 1 time} [[Move: See Help Pix]] (40,100,69,100)

21. Head/FacePaint: 62 (42,100,69,50)

22. Head/FacePaint: 31 (100,66,51,95)

23. Head/Make-Up: 5 (84,72,78,85)

24. Arm/Wristbands/Both: 1-1 (32,36,49,100,0)
25. Arm/Wristbands/Both: 1-1 (96,36,36,100,5)
26. Arm/Wristbands/Both: 3-1 (35,93,71,100,69)
27. Legs/Kneepads/Both: 15-6 (36,64,49,100)

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~Warrior Symbols on trunks and wristbands~

28. Torso/Tattoos&Logos/Design/Front: 25 {Hit Rotate 2 times and Vertical Scaling
Down | time} [[Move: See Help Pix]] (91,100,80,93)

29, Arm/Tattoos&Logos/Design/Right Arm: 25 {Hit Hit Rotate 2 times and
Horizontal Scaling Up 1 time} [[Move: See Help Pix]} (91,100,80,93)

30. Arm/Tattoos&Logos/Design/Left Arm: 25 {Hit Rotate 2 times and

Horizontal Scaling Up ] time} [[Move: See Help Pix]] (91,100,80,93)

31. Feet/Shoes: 1-1 (94,65,100)
32. Legs/Pants: 60-6 (38,100,43,0)

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http://media.sports.ign.conVarticles/441/441723/vids_|.html . UCI 000025 10/26/2005
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http://media.sports.ign.com/articles/44 1/441723/vids_1.html 10/26/2005
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EXHIBIT |

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For WWE Smackdown! Here Comes the Pain

IGN.com

http://cheats.ign.com/ob2/068/546/546855.html
Hiat: Move Sets
Here is a list of the move sets:

71-OUW Ultimate Warrior

Runboard.com

http://com4.nunboard.com/bsmackdownSherecomesthepain. fsvrcawarchivesfaqs.t23
Ultimate Warrior:
Credit: Zengeance (Zengeance86@sbcqlobal.net)

Body Toning: -100

Body Parts:

Face 12

Body 2

Skin Color: Now: -92,-3 ; 8
Hair: 65: -84,8 ; -11; 100
Body Hair: None

Eybrow: Default

Eyes 12: 40,11 ; 33

Facial! Hair: none
Sideburns: none

Lips 1: -99,-22 ; 0

Teeth: 1 :

Face Morphing:

Head: -74,-29 ; -30
Eyebrows: 58,64 ; 22
Eyes: 0,-36 ; -74,-18
Nose: -58,-51 ; -82,-32
Cheek: 29,0 ; -38,-32
Mouth: -90,53 ; 1,-3
Jaw: 43,-47 ; 34,33
Age: 25

Full Body Scaling:
Head: -29,87 ; -33
Neck: 49,55 ; 21
Chest: £1,17 ; -32
Shoulders: -50,-13
Abdomen: 3,34 ; -21
Arms: -43,37 ; -30
Hands: -19,3
Waist: 100,0

Legs: 1,14 ; 44,-59
Feet: 10,100 ; 29

Height: 6'3" (5)
Color Legend: .

My tv is waaaay off on it's color, so make sure everything is Pink, Black, White, and Yellow. So
if it's close... then change it to the basic colors.

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Attire:
Edit underwear color to: 85,89 ; 0

{Arm Ties]

The arm ties will be made by 2 ‘Simple 145" patterns on the bicep, for each tie.

You need 2 so that it wraps all the way around the arm, make them long as possible
and as wide as possible.

That is a total of 4 patterns on each arm, cuz there are 2 ties.

Top Arm Band Color: -68,72 ; 41; 100

Bottom Band Color: -1,100 ; -100 ; 100

---Complete same pattern on other arm---

{Arm Tassels]

After the arm ties are complete on each arm, we will continue to place put
tassels onto the bands. This is achieved by a vertical Simple 145 pattern,

that is short as possible, and as fat as possible. Attach 1 pattern to each

color, and then match it's color. One tassel should hang longer than the other
since the white arm band is farther down the arm than the yellow. Also, it looks
best if the tassel is placed on the very back of the bicep.

Colors: Refer to arm band color.

Wristbands: 41,1: 89,100 ; 31 ; 100; 65

Kneepads: 1,15: -71,47 ; -11 ; 100
Shoes: 1,23: -6,100 ; -100

The Warrior Paint Logos on wrestling attire:

Warrior Facepaint logo can be found in Design>Simple 25, and we are going
to place it on 5 different parts of his attire.

-Tights-

2 logos will go on the front of his tights, each one above the middle of his thigh.
Rotate 2x, Vertical: Smallest, Horizontal: smallest

Left: -64,66 ; 24; 100

Right: -5,-100 ; -100 ; 100°

1 logo will go on the back of his tights.
Rotate 2x, Vertical: 2nd fargets, Herizontal: 2nd largest
-5,100 ; -100 ; 100

Now we will put one logo on each of Warrior's boots. Allign the top of the
logo, with his very top shoe lace so that you can still see the tongue of his
boots.

Rotate 2x, Vertical: 2nd smallest, Horizontal: 2nd smallest

Left Boot: 1,-100 ; -100 ; 100

Right Boot: 89,78 ; -25 ; 100

Warrior's Headpaint:

The following numbers represent the mode! number of headpaint:
30: 4,-8 ; -88 ; 100

31: 82,56 ; 53; 100

32: -58,33 ; 31; 100

***end copy.

(JOSH) The End Result:

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Also Here Comes the Pain:

Gametalk.com .
http://www.gametalk.com/talk/ps2/wwe smackdown here comes the pain/64049039.ht
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Case 2:05-cv-01134-SMM Document 93-2 Filed 04/25/08 Page 41 of 64

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For WWE Smackdown! Vs. RAW (11/2/04)
GameSpy.com
http://cheats. gamespy.convplaystation-2-cheats/wwe-smackdown-6/? fromint=1

Hint: Hidden Entrances
Solo Entrances.....
16: Ultimate Warrior

Hint: Hidden Entrances
24 Ultimate Warrior

From Nightly net message board .
http://www.nightly.net/cgi-bin/ultimatebb.cgi?ubb=get_topic: f=72;t=002196:p=3
posted 01-17-2005

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I forgot to show you my Ultimate Warrior CAW! I shoulda used that in our last
match. I made him all myself, no internet help, etc.

posted 01-17-2005 01:17 PMOI-17-2005 01:17 PM

I totally owned this other Ultimate Warrior CAW earlier today too. He made the
mistake of removing all the turnbuckle pads & I was the one who ended up using
them to my advantage

Gamers Europe.com

http:/iwww.gamerseurope.comi/articles/636

Damo at 20:52, Fri 21 Jan 2005

Whats the difference between the 2 Ultimate Warrior entrances listed??7 there are two numbers for him, i
REALLy wanna know..

“(the two listed are same as above from GameSpy)

NineMSN.com

http://games.ninemsn.com.aw/article.aspx?id=24562

Another year, another wrestling game and another raft of superstars we've never heard of before.
Don’t have pay TV so you can keep up with the ongoing soap opera that is the WWE? This will fix
you right up.

You can battle using wrestlers of yesteryear, including Ultimate Warrior, Andre the Giant, Hulk
Hogan, Rowdy Roddy Piper, and even pit them against modern and recently retired dudes. There's a
crazy amount of modes, including our personal favourite, the bra and panties match......”

Entertainment Gaming Live

http://www.eglive.com/? view=article&article=234

“... The character models for your created wrestlers will support more polygons than
ever before, likening them more to the “real” wrestlers in the game than in
installments from the past, and will feature many new parts from which you can
construct your ultimate warrior (hint, hint). ...”

Another from Runboard.com
http://com4. runboard.com/bsmackdownSherecomesthepain. fsvrcawarchivesfaqs.t200
Uitimate Warrior Wrestlemania 7 Attire

Credit : jigglysquishy

Pics : http://img12.imageshack.us/my.php?loc=imal...ge=100 0666.jpqg
http://img12.imageshack.us/my-php?loc=img1...ge=100_0665.jpg
http://img12.imaqeshack.us/my.php?loc=img1l...ge=100 0669.jpg

Formula

Profile

Name:Ultimate Warrior

Ring Name: blank

Call Name:up to you but [ used, The Warrior
Classification: Heavyweight

Match Tactics:FACE

Show:up to you but I put RAW

Crowd Signs:Up to you

Logic

Logic 1:Grappler
Logic 2:Brawler
Move:Aggresive

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Case 2:05-cv-01134-SMM Document 93-2 Filed 04/25/08 Page 43 of 64

Irish Whip: Often
Diving Moves:Less OFten
Taunt:Often

Body Toning
X:-100

Body Parts

Face Skin:6/13

Body Skin:2/4

Skin Colour:X:-88 ¥:-2 Shade:0
Hair:69/88 X:-83 Y:-33 Shade:0 Length:78
Body Hair:DEFAULT

“Eyebrows: 120/154 X:-89 Y:-8 Shade:
Fyes:7/12 X:-84 Y:16 Shade:0

Facial Hair: DEFAULT

Sideburns: DEFAULT

Lips:47/65 X:96 Y:-S Shade:0

Teeth: DEFAULT

Face Morphing

Head: Height:51 Width:-20 Depth:34

Eyebrows:Angle 1: 25 Depth:51 Angle 2: 26
Eyes:Position Y:-10 Position X:-10 Length:0 Height: -4
Nose:Height:13 Width:0 Length:0 Angle:0

Cheek: Height:5 Length:0 Width:0 Thickness:0
Mouth:Height:-22 Length:2 Depth:-18 Thickness:18
Jaw:Height:17 Length:4 Thickness:0 Outline:7

Ear: DEFAULT

Age:X:-9

Full Body Scaling : t
Head:Depth:0 Width:0 Length:0
Neck:Depth:95 Width:37 Length:-90
Chest:Oepth: 17 Width:24 Length:-50
Shoulder: Depth:24 Width:-32
Abdomen:Depth:24 Width:61 Length:10
Arms:Depth: 13 Width: £ Length:-1
Hands:Depth:24 Width:30

Waist:Depth:48 Width:16

Legs:Depth:55 Width:22 Balance:6 Length:13
Feet:Depth:-5 Width:0 Length:0

Height:6'4 Y:21

Dress Up Head
Head Paint 30/152X:-100 Y:34 Shade: 100 Transperancy: 100
Head Paint 32/152 X:-61 Y:80 Shade: 100 Transperancy: 100

Dress Up Upper

Design/Simple:25/162 Make biggest and place in center of chest ENTRANCE ONLY
Design Simple:25/162 Make smallest and place on both sides of front of tights
Design/Simple:25/162 Make second biggest and place on back of tights

All of the above Design/Simple:25 are X:-100 Y:34 Shade:100 Transperancy: 100

Dress Up Arms

Design/Simple 145/162 Rotate,Make widest and second tallest.Place on upper arm.It doesn't
make a full circle so you have to make two per fine.Make three lines with the yellow being on
top,then orange,then yellow.See picture for reference.The yellow is X:-61 ¥:82 Shade: 100

UCi 000162
Case 2:05-cv-01134-SMM Document 93-2 Filed 04/25/08 Page 44 of 64

Transperancy: 100.The orange is X:-82 Y:72 Shade: 100 Transperancy: 100.
Repeat on other arm.
Wristband/Both arms 1/41 1/20 X:-61 Y:82 Shade:100 Transperancy: 100 Length:85

Arm Accessories:3/41 X:-82 Y:73 Shade:100 Transperancy: 100

Dress Up Lower
Underwear:1/41 1/19 X:-79 ¥:90 Shade: 100
Pants: 1/41 13/19 X:-82 Y:71 Shade:100 Pants:0

Dress Up Feet
Shoes:1/41 1/45 X:-79 Y:-90 Shade: 10 Length: 14

Stats
Strength:9
Submission:8
Duranility:9
Technique:8.5
Speed:7
Charisma:9.5
Overall:91

Those are the stats I used but there totally optional

Moveset number:24
Entrance
Movie:Logo
Moves:Original 16
Music:Ric Fiair

The entrance and moves are also optional

Slumz of Boxden

http://slumz.boxden. com/archive/index. php/t-105857.html
Movelist #24 - The Ultimate Warrior

Game Winners.com
http://forums.gamewinners.conyforums/archive/index.php/t-39551 html
November 13th, 2004, 10:07 AM

Ultimate Warrior by mysticdragon4ol

Name: Ultimate Warrior

Ring Name: None

Call Name: The Warrior
Classification: Heavyweight
Gender: Male

Match Tatics: Clean

Show: Anyoue You Want

Crowd Signs: Any Oue You Want

Logic 1:Grappler
Logic 2:Brawler

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Move: Aggressive
Rest:Often

‘Body Toning X:-66

Face Skin: 6/13

Body Skin: 2/4

Skin Color: X-88,Y-3

Hair:69 X:-83 Y:-34 Shade:0 Lenght X:81
Eye Brows: 120:-89, -9

Eyes:7 X: -83 Y:-17

Lips:47 X:-96 Y:-6

Teeth: 1 X:-96 Y:40

Face Morphing:

Head: X:52 Y:-21 X:35
Eyebrows:X:26 Y:52 Y¥:27
Eyes:X:31 Y:-11 X:0 Y¥:-5
Nose:X:14 ¥:0 X:0 Y:0
Cheek: X:6 Y:0 X:0 Y:0
Mouth:X:-23 Y:3 X:-L9 Y:18
Jaw:X:18 ¥:5 X:0 Y:8
Ear:X@efault

Age:X:-9

Full Body Scaling:
Head@efault

Neck: X:96 Y:38 Y:-91
Chest:X:18 Y:25 Y:-51
Shoulder:X:25 Y:-33
Abdomen:X: 25 Y: 62 Y¥:11
Arms:X:14 ¥:2 Y:-2
Hauds:X:25 Y¥:31
Waist:X:49 Y:17
Legs:X:56 ¥:23 X:7 Y¥:14
Feet:X: -6 Y:-1 Y:1

Height:6'2" Y:4

Do This Part [n Order

Head Paint:30:All White

Head Paint:147 All White

Make Up: 2 X:100 ¥:45 Shade:100
Head Paint:32 X:100 Y¥:8 Shade 34
Head Paiut:33 X:34 Y:-3 Shade:49

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Pattern Sample:145 Make Them On Both Arms To Look Like Arm Bands First
BLUE Then WHITE Then RED After it should be a total of 12 layers

Wrist Bands:1 X:-100 Y:89 Shade:-76 Length:86
Knee Pads:15 Material 41 X:36 Y:-14 Shade:8
Head Paint:29 X:100 Y:7 Shade X:68

Arm Accessories: 30 X:44 ¥:16 Shade X:61
Arm Accessories: 10 X:-100 Y:-3 Shade:100

Shoes:1 All White

UC! 000165
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EXHIBIT J

EXHIBIT J

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Finally............. [Archive] - IOW Discussion Forums Page | of 3

IOW Discussion Forums > IOWGames.com > Video Games > WWE: Day Of Reckoning > Finally.............

PDA

View Full Version : Finally.............

FoleyIsGod 08-31-2004, 12:29 PM

le eeteeenees DAY OF RECKONING IS OUT

WHos goin to get it. Im goin to block buster in a lil while to rent it.

Mankeymann23 08-31-2004, 03:47 PM

they get it in blockbuster on the 7th

The ShowStealer 08-31-2004, 03:56 PM
’ Good to here its out. Enjoy Gamecube fans!

cmothaf3 08-31-2004, 07:53 PM

well i got it is was worth it

FoleyIsGod 08-31-2004, 10:04 PM

damn nice game bret is sweet

Whole F'n Future 08-31-2004, 10:05 PM

Is he an ublockable?

Also do they have real music, INFO!

The Next F'n Level 08-31-2004, 10:05 PM

_ After playing it all day and night I think it's really good except for these major flaws...
1. CAW mode is the same as last year pretty much
2. Al is really bad in tag matches and reverses more than does offense, making matches unrealistic and too paced.
3. The timing for reversals seem far less intuitive than last year’s game.
4. I think it takes too long to get up early in the match. I understand staying down a long time 7 minutes into a match, but they
stay down for a long time almost right away it seems.

Still a pretty good game but I am sure I will never play it agian once SVR comes out.

da nu rizos_619 09-01-2004, 05:55 AM

well from what i'v seen of both SVR is gonna kick this game's ass, i mean, this game doesnt look like its a match for HCTP... but
whatever, anything new is always good... .

The Tumbling T 09-01-2004, 06:45 PM

’ Personally I think this is the best wrestling game since the 64 days. The gameplay is amazing. I really don't think SVR will be
better even though it looks better now, I just don't think it'll live up to the hype. And it's way better than hctp too.

' The Next F'n Level 09-01-2004, 07:37 PM
Now that I have better stats for my CAW the reversal and staying down so long aren't a promblem anymore. Yeah, its just like
the Aki days with VERY similar game play.

I am still pretty pissed though that THQ said that they had a "much deeper CAW mode” which is a total lie! They also tied about
‘being able to do moves into the cage (automatically throws them headfirst into the cage wail when close to it) and jumping off
the top of the cage like in the aki games.

Yet despite my petty gripes, this is a pretty big step up for the Gamecube fans.
UCI 000256

http://www.iowrestling.net/archive/index.php/t-22589 3/16/2006
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Finally............. [Archive] - IOW Discussion Forums Page 2 of 3

Now all they need is elemination matches, a good CAW mode, and create a title/ppv and smackdown will have some real
competition.

It already has far better gameplay!

One Stratusfied Customer 09-01-2004, 10:30 PM

You can't really compare DoR to HCTP! That just isn’t fair because there's a year between them, it's like comparing SmackDown
vs Raw with Raw2 or WMXIX (or what ever it was up to).

BradVanDamWVG 09-02-2004, 05:04 AM

I am really enjoying this game put about 13 hrs into it finished the smackdown side of things and unlocked about 1/3rd of the
unlockables. I like the gameplay in this game compared to the same gameplay from Smackdown 1- 6

Long Live HBK 09-02-2004, 03:36 PM

I think it is an awesome game and the only problems i see are the obvious ones we've all mentioned: the shrunken roster and no
entrance attire .

bogeyman 09-03-2004, 02:56 PM

ok guys that have it (i envy ul!!!) how is this compared 2 wmxix better? very worth geting i dont care about the roster i knew it
was goin 2 suk so i havent watched wrestling for a couple of months delibratly c'mon the game is out and u guys that have it
havent said much

1_to_the_L 09-03-2004, 07:19 PM

‘{ dont know what next level is taking about but caw mode is the best

its is a alot bigger than last year you can take a picture of your caw face

you can change the color of gear now the cae is better he's the only person ive seen
who dosnt like caw

The Next F'n Level . 09-03-2004, 07:40 PM

I dont see how the CAW feature is that much bigger.
Taking a picture of your character and changing the color of your gear is FAR from making the feature "far deeper than last

year's”.

Hell, they even took out a lot of stuff like half the tatoos.
“What I am saying is that 98% of ail hair styles, base clothes, accessories, and logos are all just carried over from last year.

Also, the "gear" section is more of a tease than anything becuase haif of it costs five points to use and they only give you 8.

Like when making Ultimate Warrior...

They put the arm fringes in the gear section (which look really good!) and then laugh at you by making it 5 points so you cannot
put it on both arms...what is the point of putting it in then?

‘Iam not saying the CAW mode is pure crap...its not horrible at all.
What I said is that it is not "far deeper" than last year's version like THQ kept saying it would be.

Also, its just my opinion...not that big of a deal.

.I just dont like being lied to is all.

-Same goes for them saying that you will be able to jump off the top of the ceil and do grapples into the cell walls. It was quoted
in an official interview.

One last point...I dont understand why they put the create a logo feature in but only avialable for boots, tatts, and shirts.

Isn't the single most popular place wrestlers have logos on thier tights? 1 dont understand why they exclude the one part ofa
wrestlers outfit that is the only place most wrestlers have a logo.

just my opinion....
‘1_to_the_L 09-03-2004, 09:46 PM

_and i respect your opinion but i think the thq mis-understood the jumping off the cage
- question, they must have thought it HICA

http://www. iowrestling.net/archive/index.php/t-22589 UCI 000257 3/16/2006
Case 2:05-cv-01134-SMM Document 93-2 Filed 04/25/08 Page 50 of 64

“nally... [Archive] - IJOW Discussion Forums Page 3 of 3

The Next F'n Level 09-04-2004, 07:49 AM

Yeah, they might have...
makes sense I guess.

On a positive note though 1 do like the new layering of the create of togo tool. A damn good idea, as weil as the new pyro added.

‘ FoleyIsGod 09-07-2004, 08:22 PM

- plain and simple. DOR is better than it was hyped to be. I thought it was going to e dissapointing but it really is a good game

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UCI 000258

attp://www.iowrestling.net/archive/index.php/t-22589 3/16/2006
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EXHIBIT K

EXHIBIT K

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SMACKDOWN
HERE COMES THE PAIN

Preset Movesets:
01-WWR William Regal
02-WAS Al Snow
03-WSD Spike Dudley
04-WBR Bradshaw
05-WFA Farooq
06-WBG Billy Gunn
07-WCP Chuck Palumbo
08-WBK Billy Kidman
09-WS2H Scotty 2 Hotty
10-WTA Tazz
11-WHH Bob Holly
12-WJN Jamie Noble
13-WJR Jamal/Rosey
14-WTD Tommy Dreamer
15-WBD Bill DeMott
16-WFU Sho Funaki
17-WCR Crash Holly
18-OJH Jeff Hardy
19-ORA Raven
20-OXP X-Pac
21-ODD DDP
22-ODL D Lo Brown
23-OJC Justin Credible .
24-OGF Godfather
25-OSB Steve Blackman
26-OSM Shane McMahon
27-OBB Big Bossman
28- Perry Saturn
29- Mike Awesome
30-ODM Dean Malenko
31-OMP Mister Perfect
32-OMF Mick Foley
33-CBH Bret Hart
34-ZAG Andre the Giant
35-ZBB Bob Backlund
36-OER Essa Rios
37-ORD Road Dogg
38-DLTF Terry Funk
39-CRR Razor Ramon
40-CST Sting
41- Ken Shamrock

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Case 2:05-cv-01134-SMM Document 93-2 Filed 04/25/08 Page 53 of 64

42-CJI Jeff Jarrett
43- TAKA Michinoku
44- Kensuke Sasake
' 45- Keiji Mutoh
46- Masa Chono
47- Hiroyoshi Tenzan
48- Manabu Nakanishi
49- Yugi Nagata
50- Jyushin "Thunder" Lyger
51- Kendo Kashin
52- Toshiaki Kawada
53- Genichiro Tenryu
54- Big Van Vader
55- Mitsuharu Misawa
56- Kenta Kobashi
57- Jun Akiyama
58- Antonio Inoki
59- Naoya Ogawa
60- Shinya Hashimoto
61- The Great Sasuke
62- Atsushi Onita
63- Ivory
64- Fred Durst
65- Shoot Set 1
66- Shoot Set 2
67- Joshi Set A
68- Joshi Set B
69- Lucha Set
70-OHH Hulk Hogan
71-OUW Ultimate Warrior

UC! 000309
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EXHIBIT L

EXHIBIT L

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WWE Smackdown vs. Raw PS2 che- “* Page | of

WWE Smackdown vs. Raw PS2 cheats

- Full Game Downloads for PS2, Xbox, GC, PC -
Return to Main Index Page

Attribute Exploit:

Create a CAW that is a super heavyweight and max out all his attributes. Then go to the CAW menu and copy
him go to the copied caw and go to Profile. Change his weight to DIVA weight and continue to exit. Exit the Caw
by going to continue and don‘t save. This will give you a ton of experience points and can be done over and over.

Stone Cold Steve Austin:

Stone Cold Steve Austin is not on the game but you can create him. First, save some money and buy the move
set with the picture of someone doing the Stunner. You can purchase this at Shopzone. Then, when you go to

Unlock Credits:
To unlock the credits video, successfully complete one year in the season mode.

Legends:

* Bret “Hitman" Hart : Buy at the WWE store for $20,000

* Andre the Giant : Buy at the WWE store for $20,000

* Brutus “The Barber" Beefcake : Buy at the WWE Store for $20,000
* Legend Undertaker : Buy at the WWE store for $18,000

* The Rock : Buy at the WWE Shop for $20,000

* Legion of Doom : Buy at the WWE store for $35,000

* Mankind : Buy at the WWE store for $20,000

* Masked Kane : Buy at the WWE store for $18,000

Outfits:
* Kurt Angle And Shawn Michael's alternate outfits: Beat rising star challenges

* All Evolution Members and Randy Orton;s alternate outfits: Complete Superstar challenges
* The Rock's alternate attire: Beat all challenges .

Hidden Entrances:

* 1 Faroog

* 2 Billy Gunn

* 3 Val Venis

* 4 William Regal

* S Scott Steiner

¥ 6 Test

* 7? Hurricane

* 8 Spike Dudley

9 Billy Kidman

* 10 Funaki
11 Steven Richards
*2 Sgt. Slaughter
-3 Jerry the King Lawler

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‘tp://www.psx2codes.com/wwesmackdownvsraw chtml
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WWE Smackdown vs. Raw PS2 che ~ ,

* 14 Taz

15 Al Snow

16 Rodney Mack

17 Jazz

18 Lita

19 Vince McMahon
20 Shane McMahon
21 Steph McMahon

* 22 Eric Bishoff

* 23 Hulk Hogan

* 24 Ultimate Warrior
* 25 Iron Shiek

* 26 Nikolai Volkoff

* 27 George Steele

* 28 Hillbilly Jim

* 29 Dean Malenko

* 30 Ted DiBiase

* 31 Crash Holly

* 32 Mr. Perfect

* 33 Bob Backlund

* 34 Lance Storm

* 35 Ultimo Dragon

* 37 Stone Cold Steve Austin
* 38 Gotdberg

* 39 Brock Lesnar

* 40 Jeff Hardy

* 41 X-Pac

* 42 Diamond Dallas Page
* 43 Road Dogg Jesse James
* 44 Kevin Nash

* 45 Scott Hall

* 46 Sting

* 47 Jeff Jarrett

* 48 Goldust

* 49 Big Van Vader

* 50 Keiji Mutoh

* S51 Kendo Kashin

* 52 Toshiaki Kawada
* 53 Taka Michinoku

* 54 Genichiro Tenryu
* 55 Kensuke Sasake
* S6 Masa Chono

* 57 Hiroyoshi Tenzan
* 58 Manabu Nakanishi
* 59 Yugi Nagata

* 60 Jyushin “Thunder” Lyger
* 6{ Mitsuharu Misawa
* 62 Kenta Kobashi

* 63 Jun Akiyama

* 65 Naoya Ogawa

* 66 The Great Sasuke
* 67 Atsushi Onita

* 68 Fred Ourst

* 69 Antonio Inoki

*¥ ¥ KR KK

http://www.psx2codes.com/wwesmackdowavsraw.shtml

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WWE Smackdown vs. Raw PS2 che;

* 70 Shoot Set 1
* 71 Shoot Set 2
* 72 Joshi Set A
* 73 Joshi Set B
* 74 Lucha Set

Hidden Entrances:
Solo Entrances

* OL:
* Q2:
* Q3:
* 04:
* OS:
* 06:
* Q7:
* O08:
* Q9:
10:
Li:
12:
13:

*
*
*
* 14:
*
*
*

®

1S:
16:
17:

Steve Austin

Lita

Bradshaw (Face)
Rikishi

The Hurricane
Goldberg
Bushwhacker

X-Pac

Jeff Hardy

Booker T

Bubba Ray Dudley (Face)
D-Von Dudley (Face)
Eugene

Hulk Hogan

Scott Steiner
Ultimate Warrior
Chris Jericho (Face)

‘Tag Team Entrances:

: Generic

: World's Greatest Tag Team

: Dudley Boyz (Heel)

: Evolution (Ric Flair and Batista)

: Evolution (Ric Flair and Randy Orton)
: Rico & Miss Jackie

: Bushwhackers

: Hardy Boyz

: Dudley Boyz (Face)

: The Legion of Doom

: Too Cool (Scotty 2 Hotty and Rikishi)
: O-Generation-X (Road Dogg and X-Pac)

Trio Entrances:

* QI:
* 02:
* QO3:
* 04:
* 05:
* 06:

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Generic

Evolution (Batista, Ric Fiair, and Randy Orton)
F.B.1.

Rico, Miss Jackie & Charlie Haas

Team X-Treme (Lita, Matt Hardy, and Jeff Hardy)
D-Generation-X (Road Dogg, X-Pac, and Tori)

Hidden Weapons:
When you fight at backstage area, you can Irish Whip your opponent to the big fence down and make it collapse.
There is a big yellow door that has these writing STOP - LIFT GATE DOWN - DOOR MUST BE OPEN.

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http://www. psx2codes.com/wwesmackdownvsraw.shtml

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WWE Smackdown vs. Raw PS2 che’; fo Page 40f4

There you can punish your opponents by using the gate. And there are also hidden weapons inside that gate,
such as Tables and SledgeHammers.

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; - WWE Smackdown! Here Comes the - Ultimate Warrior
. Piicbeteehanainad Pain > Hulk Hogan
» Playstation2  - - WWE Wrestlemania XIX
» Xbox
Bao R.LP. Eddie Guerrero 1967-2005

Eddie Guerrero was truly an inspiration to us all. He showed us that you don't have to be one
of the big boys to do big things in the ring. Although he is gone, he will live on in are hearts.
Goodbye Eddie, thank you for sharing your life with us.

{Posted: 11.14.05]

Add 5 New CAWs for WWE Smackdown! vs Raw!!!

Ads by Google Brian Pillman
Shane McMahon Be
Sports Tickets Randy Savage Starting at
imate Warrior i :
Srepror Sports Hulk Hogen $49.99 jc
quipment' Compare == [Posted: 10.29.05]
& Buy from 1000's of
Stores Day of Reckoning 2 Screens
www.Shopping.com | added 13 screens of Thq’s up and coming game for the gamecube. The game is looking
pretty sweet so check them out. As the game gets closer to coming out keep checking back ferom ales 2,
for updates.[View Screens]
. [Posted: 06.16.05]
Event Tickets
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theatre, national All Pro Wrestling X producer Dave Wishnowski took the time to answer some questions on his
events nationwide up and coming game Pro Wrestling X. Its looking really good so read away. [Read More]
since 1989 [Posted: 06.07.05]
www.800BuyTickets.com = Added 7 Wrestlemania 21 Caws
Abyss
Chris Masters
Hulk Hogan
Jeff Hardy
Joey Mercury
Paul London

Steve Austin
{Posted: 05.14.05}

Pro Wrestling X game project formally announced

The Wrestling Gamers United movement, in conjunction with WishbonexX software, are
proud to announce the official commencement of development on their upcoming Pro
Wrestling X title for the PC platform. Made possible through a generous collaboration with
Telefilm Canada, PWxX is the realization of three years of unparalleled fan support and a
unified vision for a new kind of wrestling game. One that seeks to take full advantage of the
broad opportunities within the PC gaming community, such as open-ended editing features
and online league play...[Read More]

{Posted: 05.03.05}

Added 6 more Day of Reckoning caws
- Elix Skipper

- D'Lo Brown

‘ Chris Sabin

- Carlito Caribbean Cool

- Billy Kidman

(Posted: 04.20.05]

UCI 000249
5 more Day of Reckoning CAWs

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Added Tazz, Vince McMahon, The Godfather, Ultimate Warrior, and Ultimo Dragon for WWE
Day of Reckoning. We hope to be adding some caws for WWE Smackdown! vs Raw soon
so keep checking back.

{Posted: 03.08.05}

10 more Day of Reckoning CAWs

Added Billy Gunn, British Bulldog, Bubba Ray Dudley, Cactus Jack, D-Von Dudley, Diamond
Dallas Page, Eugene Dinsmore, Jeff Nero Hardy, Owen Hart, Steve Austin, and Sting for
WWE Day of Reckoning. Sorry for not updating for so long we hope to start adding alot more
caws in the future.

[Posted: 03.03.05]

14 New Wrestlemania 21 Screens

| have 14 new screen shots of Wrestlemania 21. Keep checking back for more screens.
[Read More]

{Posted: 01.23.05]

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WWE Smackdown! vs Raw Review

by J P Rating

y Jeremy Penner Gameplay: 9
Its amazing how far wrestling games have come Graphics: 9
from there humble beginnings. | remember the very goynq- 7
first wrestling game i ever played was WWF
Warzone for the Nintendo 64. | dusted it off a few Value: 8
months back to take a trip down memory lane and Tilt: 8

was amazed on how many improvements have been
made in so little time. The same could not be said
about pro wrestling thought, its popularity and quality
in the past few years has continued to decline. But it
does not seem to bother most wrestling game fans;
they are always excited about the yearly updates to
the Smackdown series on the Playstation 2. Last
years game Here Comes The Pain was easily the
best wrestling game in the history of the smackdown
series and with the added online play this year
expectations were quite high for WWE Smackdown!
vs Raw.

Overall: 8.2

Click on screen for more

Features

Superstar Voice Over and Commentary: The heart of
the Smackdown! series is the season/story mode.
Prepare for the evolution of the Smackdown! season
mode with the addition of authentic Superstar VO
and commentary.

Online: For the first time ever ina WWE game fans
can compete online in head-to-head action.

All New Season Mode: New storylines with bigger
double-crosses and over-the-top surprises.

Create-A-PPV and Create-A-Championship: Create
a Championship belt and then set-up your own PPV
to defend it. Be careful, lose a match and lose your

Championship as it will transfer to the other player’s
memory card.

New WWE Legends: Including one of the all-time
greats...Andre the Giant!

Innovative Gameplay Mechanics: Smackdown! vs.
Raw will have all new gameplay mechanics including
a chop battle, pre-match stare down, new grappling
position, test of strength and submission reversal
system.

Situational Challenges: Make HBK tap out in the
Sharp shooter, vanquish HHH in a cage match,
defeat six legends with the legend killer Randy
Orton, these are just a few of the 60 challenges that
await.

Fight Dirty or Fair: This will give players the UCI 000251

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opportunity to choose if they want to fight dirty or win
over the crowd. This system will add more
excitement, strategy and personality to each match.

Graphics Upgrade: Smackdown! Here Comes The
Pain was praised for its graphics. This year’s
graphical upgrade will be even more astonishing.

Improved Royal Rumble Mechanics: The Royal
Rumble match will have all-new game-play
mechanics that will re-invent this match type in a
video game.

Gameplay

The gameplay in this years game is almost exactly
identical to last years game Here Comes The Pain.
The action is fast-paced and the controls are fairly
simple. Various meters have now been added to
matches. During the match a meter that uses a
similar system to kicking field goals in football games
allows you to perform chops, and if you're in a Diva
match, you can spank your opponent. You charge up
the power of a chop, and then try to get an accurate
chop by stopping the meter on green. The biggest
gameplay additions are the mini-games that have
been added to the beginning of matches. When the
match starts you either have a stare down, test of
strength, or try to get in the first strike. The additions
do keep you more involved in the match so you don't
have to sit and watch everything.

Another feature new this year is now faces and heels
behave differently in the ring. You now have the
option of choosing wither you want to be evil or good
before the match starts. If you choose good you will
have fight cleanly and perform high risk maneuvers
in order to earn a special move that makes you
impervious to attacks. If you choose evil you will
have to taunt the crowd and argue with the ref in
order to earn a Jow blow. This system does need
some work but is still a good addition to the game.

The biggest addition to this year’s game is the online
capabilities, which are alive and well in Smackdown!
vs Raw. The online mode is pretty much the same
as most online modes, giving you different channels
for different skill levels. Unfortunately the game does
not play that well online with lots of lag. Overall | was
pretty disappointed with the lack of options there are
in the online mode and the poor gameplay online.

The other big addition is that in the story mode the
wrestlers now talk. Yes that's right no more reading
pages upon page of dialogue. This | something |
have been begging thq to do for along time. | guess |
should be thanking thq but | can’t help thinking what
heck took so long. Although the game might not be
the best voice-acted game out there it still beats
reading the dialogue.

Graphics

Not much has changed since HCTP graphics wise.

The rendering of wrestlers are of such a quality that

they are nearing photo-realistic. The skin everything

almost looks real it almost creepy how real

everything looks. The arenas look great the ropes

and everything are animated almost perfect.

Everything looks great but | am a little disappointed |

was hoping for more improvements from HCTP

graphics. There are still a few problems that have UCI 000252

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not been fixed like the CAW’s skin still does not have
the sweaty look like the in game wrestlers have.

Sound

We've already discussed the new story mode voices.
After sometime off from the smackdown series
commentary has been added back into the game.
And its not nearly has bad as it was before. | noticed
a few problems but Lawler, Ross, Coles, and Tazz
don't make nearly as many mistakes are made.
Almost all the entrance music is authentic, but like
last year there are a few songs missing. The grunts,
groans, and slams of the wrestlers are right on.

Value

SvR is the best wrestling game to date. It’s simple to
play, but has enough depth to keep you challenged
and coming back for more fast paced action. It has
its share of problems, but as a whole this game is
almost impossible not to enjoy.

Tilt

It's a good game but there are just not enough
improvements. If you're a hardcore wrestling game
fan you will love this game, but if you're not and just
want to fight a few matches with friend’s pickup Here
Comes The Pain.

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